                      Case 1:19-sw-00037-DAR
 AO 106 (Rev. 04/10) Application for a Search Warrant            Document 1 Filed 02/05/19 Page 1 of 14


                                      UNITED STATES DISTRICT COURT
                                                                      for the
                                                             District
                                                       __________     of Columbia
                                                                   District  of __________
               In the Matter of the Search of
           (Briefly describe the property to be searched               )
            or identify the person by name and address)                )
INFORMATION ASSOCIATED WITH THE CELLULAR                               )         Case No. 19-SW-37
TELEPHONE ASSIGNED CALL NUMBER 202-971-2012                            )
THAT IS STORED AT PREMISES CONTROLLED BY                               )
                                                                       )
VERIZON WIRELESS.
                                            APPLICATION FOR A SEARCH WARRANT
         I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
 penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
 property to be searched and give its location):
         See Attachment A incorporated herein and included as part of this Application for a Search Warrant.

 located in the                                    District of             Columbia           , there is now concealed (identify the
 person or describe the property to be seized):

         See Attachment B incorporated herein and included as part of the attached Affidavit.

           The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                ✔ evidence of a crime;
                u
                ✔ contraband, fruits of crime, or other items illegally possessed;
                u
                  ✔ property designed for use, intended for use, or used in committing a crime;
                  u
                  u a person to be arrested or a person who is unlawfully restrained.
           The search is related to a violation of:
              Code Section                                                       Offense Description
18 U.S.C. §§§ 1201                                 Kidnapping



           The application is based on these facts:
           See Attached Affidavit in Support of Search Warrant.

            ✔ Continued on the attached sheet.
            u
            u Delayed notice of        days (give exact ending date if more than 30 days:                             ) is requested
              under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                             Applicant’s signature

                                                                                              Emily Eckert, FBI
                                                                                             Printed name and title

 Sworn to before me and signed LQP\SUHVHQFH.

 Date:       2/5/19
                                                                                               Judge’s signature

 City and state: Washington, D.C.                                             G. Michael Harvey, United States Magistrate Judge
                                                                                             Printed name and title
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AO 93 (Rev. 1/13) Search and Seizure Warrant



                                           UNITED STATES DISTRICT COURT
                                                                     for the
                                                              District
                                                        __________     of Columbia
                                                                    District of __________
                   In the Matter of the Search of
              (Briefly describe the property to be searched             )
               or identify the person by name and address)              )
                                                                        )      Case No.   19-SW-37
      INFORMATION ASSOCIATED WITH THE CELLULAR
      TELEPHONE ASSIGNED CALL NUMBER 202-971-2012                       )
      THAT IS STORED AT PREMISES CONTROLLED BY                          )
      VERIZON WIRELESS.                                                 )

                                                 SEARCH AND SEIZURE WARRANT
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the                                   District of            Columbia
(identify the person or describe the property to be searched and give its location):


      See Attachment A incorporated herein and included as part of the Application for a Search Warrant.




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):

      See Attachment B incorporated herein and included as part of the Affidavit.




         YOU ARE COMMANDED to execute this warrant on or before                February 19, 2019        (not to exceed 14 days)
       u in the daytime 6:00 a.m. to 10:00 p.m. ✔
                                                u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                        G. Michael Harvey                    .
                                                                                             (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for         days (not to exceed 30) u until, the facts justifying, the later specific date of                                   .


Date and time issued:             2/5/19
                                                                                                     Judge’s signature

City and state:              Washington, D.C.                                     G. Michael Harvey, United States Magistrate Judge
                                                                                                   Printed name and title
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AO 93 (Rev. 1/13) Search and Seizure Warrant (Page 2)

                                                                   Return
Case No.:                                Date and time warrant executed:        Copy of warrant and inventory left with:
   19-SW-38
Inventory made in the presence of :

Inventory of the property taken and name of any person(s) seized:




                                                                Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                       Executing officer’s signature


                                                                                          Printed name and title
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                                        ATTACHMENT A


                                     Property to Be Searched


         This warrant applies to records and information associated with the cellular telephone

assigned call number 202-971-2012 that are stored at premises controlled by VERIZON

WIRELESS (“the Provider”), headquartered at 180 Washington Valley Road, Bedminster, NJ,

07921.
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                                   ATTACHMENT B


                             Particular Things to be Seized


I. Information to be Disclosed by the Provider

   To the extent that the information described in Attachment A is within the possession,

custody, or control of the Provider, including any information that has been deleted but is

still available to the Provider or that has been preserved pursuant to a request made under 18

U.S.C. § 2703(f), the Provider is required to disclose to the government the following

information pertaining to the Account listed in Attachment A for the time period December

17, 2018 00:01 EST to December 18, 2018 23:59 EST.

       a. The following information about the customers or subscribers of the Account:

               i. Names (including subscriber names, user names, and screen names);

               ii. Addresses (including mailing addresses, residential addresses, business
                   addresses, and e-mail addresses);

              iii. Local and long distance telephone connection records;

              iv. Records of session times and durations, and the temporarily assigned
                  network addresses (such as Internet Protocol (“IP”) addresses) associated
                  with those sessions;

               v. Length of service (including start date) and types of service utilized;

              vi. Telephone or instrument numbers (including MAC addresses, Electronic
                  Serial Numbers (“ESN”), Mobile Electronic Identity Numbers (“MEIN”),
                  Mobile Equipment Identifier (“MEID”); Mobile Identification Number
                  (“MIN”), Subscriber Identity Modules (“SIM”), Mobile Subscriber
                  Integrated Services Digital Network Number (“MSISDN”); International
                  Mobile Subscriber Identity Identifiers (“IMSI”), or International Mobile
                  Equipment Identities (“IMEI”);

             vii. Other subscriber numbers or identities (including the registration Internet
                  Protocol (“IP”) address); and

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                viii. Means and source of payment for such service (including any credit card
                      or bank account number) and billing records.

           b. All records and other information (not including the contents of communications)

               relating to wire and electronic communications sent or received by the Account,

               including:

                   i. the date and time of the communication, the method of the

                      communication, and the source and destination of the communication

                      (such as the source and destination telephone numbers (call detail

                      records), email addresses, and IP addresses); and

                  ii. information regarding the cell towers and sectors through which the

                      communications were sent and/or received, to include voice calls,

                      SMS/MMS, and data sessions; and any timing advance information, to

                      include RTT, per call measurement data, True Call, NELOS, or similar.



   II. Information to be Seized by the Government

       All information described above in Section I for phone number 202-971-2012, including

subscriber information, call and SMS/MMS detail records, and the cell phone’s location

information, that constitutes evidence of violations of 18 U.S.C. § 1201 during the period

December 17, 2018 00:01 EST to December 18, 2018 23:59 EST.




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                 CERTIFICATE OF AUTHENTICITY OF DOMESTIC
             RECORDS PURSUANT TO FEDERAL RULES OF EVIDENCE
                            902(11) AND 902(13)


       I, _________________________________, attest, under penalties of perjury by the laws

of the United States of America pursuant to 28 U.S.C. § 1746, that the information contained in

this certification is true and correct. I am employed by VERIZON, and my title is

_____________________________. I am qualified to authenticate the records attached hereto

because I am familiar with how the records were created, managed, stored, and retrieved. I state

that the records attached hereto are true duplicates of the original records in the custody of

VERIZON. The attached records consist of ______________ [GENERALLY DESCRIBE

RECORDS (pages/CDs/megabytes)]. I further state that:


       a.       all records attached to this certificate were made at or near the time of the

occurrence of the matter set forth by, or from information transmitted by, a person with

knowledge of those matters, they were kept in the ordinary course of the regularly conducted

business activity of VERIZON, and they were made by VERIZON as a regular practice; and


       b.       such records were generated by VERIZON’s electronic process or system that

produces an accurate result, to wit:


                1.      the records were copied from electronic device(s), storage medium(s), or

file(s) in the custody of VERIZON in a manner to ensure that they are true duplicates of the

original records; and


                2.      the process or system is regularly verified by VERIZON, and at all times

pertinent to the records certified here the process and system functioned properly and normally.
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       I further state that this certification is intended to satisfy Rules 902(11) and 902(13) of

the Federal Rules of Evidence.




Date                                 Signature




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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

IN THE MATTER OF THE SEARCH OF
INFORMATION ASSOCIATED WITH THE
CELLULAR TELEPHONE ASSIGNED      S.C. No. 19-SW-37
CALL NUMBER 202-971-2012 THAT IS
STORED AT PREMISES CONTROLLED BY
VERIZON WIRELESS.


                            AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR A SEARCH WARRANT

        I, EMILY ECKERT, being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.      I make this affidavit in support of an application for a search warrant for

information associated with a certain cellular telephone assigned call number 202-971-2012

(“the SUBJECT PHONE”), that is stored at premises controlled by VERIZON WIRELESS, a

wireless telephone service provider headquartered at 180 Washington Valley Road, Bedminster,

NJ, 07921. The information to be searched is described in the following paragraphs and in

Attachment A. This affidavit is made in support of an application for a search warrant under 18

U.S.C. § 2703(c)(1)(A) to require VERIZON WIRELESS to disclose to the government copies

of the information further described in Section I of Attachment B. Upon receipt of the

information described in Section I of Attachment B, government-authorized persons will review

the information to locate items described in Section II of Attachment B.

       2.      I am a Special Agent with the Federal Bureau of Investigation (“FBI”), and have

been since 2016. Currently, I am assigned to the Washington Field Office. I have gained

experience through training with the FBI and in my everyday work related to conducting

investigations. During my career as an FBI agent, I have (a) conducted physical and wire
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surveillance; (b) participated in the execution of search warrants for various crimes; (c) reviewed

and analyzed numerous recorded conversations and other documentation; (d) tasked, handled,

and debriefed confidential human sources; and (f) conducted investigations of individuals

engaged in various crimes. Moreover, I am a federal law enforcement officer who is engaged in

enforcing the criminal laws, including 18 U.S.C. § 1201, and I am authorized by the Attorney

General to request a search warrant.

       3.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended

to show merely that there is sufficient probable cause for the requested warrant and does not set

forth all of my knowledge about this matter.

       4.      Based on the facts set forth in this affidavit, there is probable cause to believe that

violations of 18 U.S.C. § 1201 have been committed by JEREMIAH TREVELL

MCCRIMMON. There is also probable cause to search the information described in Attachment

A for evidence of these crimes as further described in Attachment B.

                                          PROBABLE CAUSE

       5.      On December 18, 2018, Detectives from the Metropolitan Police Department

Youth Family Services Division were notified that a 13-year-old female, an individual known to

your affiant, (hereinafter “A.S.,”) was the victim of a kidnapping and sexual assault.

       6.      A.S. reported to law enforcement that she was walking from school to her

grandmother’s house in Capitol Heights, Maryland on December 18, 2018, when

MCCRIMMON, an adult male previously known to her, approached her. MCCRIMMON put

A.S. in his vehicle against her will and handcuffed her. MCCRIMMON then drove A.S. to a

residence in Washington, DC, and sexually assaulted her. While in his vehicle and at the

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residence in Washington, DC, A.S. observed MCCRIMMON use his cellular telephone to send

what she believed to be text messages, though she did not have a clear view of the phone’s

screen. MCCRIMMON returned A.S. to Capitol Heights, Maryland in the early evening of

December 18, 2018. A.S. further reported that she believes MCCRIMMON had discreetly

followed her the day prior to the kidnapping, on December 17, 2018.

       7.     Your affiant is aware that a valid protection order preventing MCCRIMMON

from having contact or harassing A.S. had been authorized by the District Court of Maryland for

Prince Georges County and was in effect on December 17 and December 18, 2018.

       8.     Forensic analysis of MCCRIMMON’s cell phone has confirmed that the

telephone number associated with that device is 202-971-2012. Further, the analysis revealed

MCCRIMMON was actively utilizing his cell phone before, during and after the abduction. A

search of a law enforcement database has determined that telephone number 202-971-2012

belonged to VERIZON WIRELESS during the time period requested in Attachment B.

       9.     On January 11, 2019, the Superior Court of the District of Columbia issued a

warrant for the arrest of MCCRIMMON. At approximately 1630 EST on January 11, 2019,

MPD executed the arrest warrant. After being advised of his rights pursuant to Miranda,

MCCRIMMON agreed to be interviewed by law enforcement. MCCRIMMON stated he

approached A.S. on December 18, 2018, in Capital Heights, Maryland, placed her in his vehicle,

and handcuffed her. MCCRIMMON then drove her to a residence in Washington, DC where he

engaged in oral sex with her. MCRIMMON advised law enforcement he drove A.S. back to

Capital Heights, Maryland later that same date.

       10.    Law enforcement has obtained surveillance footage from the afternoon of

December 18, 2018, which shows MCCRIMMON approaching A.S. in a parking lot in Capital

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Heights, Maryland, placing his hand on her arm and putting her into his vehicle before getting

into the driver’s seat and driving away. Additional footage located by law enforcement shows

A.S. exiting MCCRIMMON’s vehicle in the same vicinity several hours later.

       11.     In my training and experience, I have learned that VERIZON WIRELESS is a

company that provides cellular telephone access to the general public. I also know that providers

of cellular telephone service have technical capabilities that allow them to collect and generate

information about the locations of the cellular telephones to which they provide service,

including cell-site data, also known as “tower/face information” or “cell tower/sector records.”

Cell-site data identifies the “cell towers” (i.e., antenna towers covering specific geographic

areas) that received a radio signal from the cellular telephone and, in some cases, the “sector”

(i.e., faces of the towers) to which the telephone connected. These towers are often a half-mile

or more apart, even in urban areas, and can be 10 or more miles apart in rural areas.

Furthermore, the tower closest to a wireless device does not necessarily serve every call made to

or from that device. Accordingly, cell-site data provides an approximate location of the cellular

telephone but is typically less precise than other types of location information, such as E-911

Phase II data or Global Positioning Device (“GPS”) data.

       12.     Based on my training and experience, I know that VERIZON WIRELESS can

collect cell-site data about the SUBJECT PHONE. I also know that wireless providers such as

VERIZON WIRELESS typically collect and retain cell-site data pertaining to cellular phones to

which they provide service in their normal course of business in order to use this information for

various business-related purposes.

       13.     Based on my training and experience, I know that wireless providers such as

VERIZON WIRELESS typically collect and retain information about their subscribers in their

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normal course of business. This information can include basic personal information about the

subscriber, such as name and address, and the method(s) of payment (such as credit card account

number) provided by the subscriber to pay for wireless telephone service. I also know that

wireless providers such as VERIZON WIRELESS typically collect and retain information about

their subscribers’ use of the wireless service, such as records about calls or other

communications sent or received by a particular phone and other transactional records, in their

normal course of business. In my training and experience, this information may constitute

evidence of the crimes under investigation because the information can be used to identify the

SUBJECT PHONE’s user or users and may assist in the identification of co-conspirators and/or

victims.

                                AUTHORIZATION REQUEST

       14.     Based on the foregoing, I request that the Court issue the proposed search

warrant, pursuant to 18 U.S.C. § 2703(c) and Federal Rule of Criminal Procedure 41.

       15.     I further request that the Court direct VERIZON WIRELESS to disclose to the

government any information described in Section I of Attachment B that is within its possession,

custody, or control. Because the warrant will be served on VERIZON WIRELESS, who will

then compile the requested records at a time convenient to it, reasonable cause exists to permit

the execution of the requested warrant at any time in the day or night.



                                                      Respectfully submitted,



                                                      Emily Eckert
                                                      Special Agent
                                                      Federal Bureau of Investigation

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Subscribed and sworn to before me on February 5, 2019


_________________________________________
HONORABLE G. MICHAEL HARVEY
UNITED STATES MAGISTRATE JUDGE




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